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                                   UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

       IN RE: NIASPAN ANTITRUST
       LITIGATION

                                                        MDLNo.2460

                                                        Master File No. 2:13-md-2460-JD
       This Document Relates to:

       All Actions




       Stipulation Regarding Direct Purchaser Class Plaintiffs' Motion to Compel Zydus
                 Pharmaceuticals to Produce Subpoenaed Electronic Sales Data


         WHEREAS Direct Purchaser Class Plaintiffs filed their Motion to Compel Zydus

Pharmaceuticals (USA) Inc. ("Zydus") to Produce Subpoenaed Electronic Sales Data on April

20, 2017 (ECF No. 399) regarding a subpoena served on March 25, 2015.

         WHEREAS Zydus's response to the Motion to Compel is due May 12, 2017. ECF No.

407.

         WHEREAS Direct Purchaser Class Plaintiffs served on Zydus a Subpoena to Testify at

Deposition dated April 20, 2017, which Zydus objected to on April 26, 2017.

         WHEREAS Direct Purchaser Class Plaintiffs and Zydus are engaged in a meet and

confer process to resolve the Motion to Compel and the subpoenas.

         Direct Purchaser Class Plaintiffs and Zydus stipulate as follows:

             1. Zydus has agreed to produce actual sales data in Excel format, covering the period

from June 2014 through December 31, 2016, available in reasonably accessible databases kept in
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the ordinary course of business. Zydus will work to make that data production on or before May

31, 2017.

            2. Zydus has agreed to provide written answers to Direct Purchaser Class Plaintiffs'

data interpretation questions as outlined in Direct Purchaser Class Plaintiffs' May 3, 2017 letter.

Zydus has agreed to answer those questions on or before May 19, 2017.

            3. Direct Purchaser Class Plaintiffs have agreed to suspend the Subpoena to Testify

at Deposition dated April 20, 2017 pending Zydus's production of data and answers to the data

interpretation questions.

            4. In the interest of judicial economy and to permit the parties the opportunity to

resolve the Motion to Compel by agreement, the parties agree that Zydus need not file a

responsive brief in opposition to the Motion to Compel Production at this time.

            5. Both Direct Purchaser Class Plaintiffs and Zydus reserve all rights, and in the

event that Direct Purchaser Class Plaintiffs or Zydus deem it necessary to litigate the Motion to

Compel or otherwise litigate either subpoena, they shall notify the Court.


Date: May 12, 2017

By: Isl David F. Sorensen                                    By: Isl David B. Abramowitz
David F. Sorensen                                            Michael J. Gaertner
Andrew C. Curley                                             David B. Abramowitz
Nicholas Urban                                               LOCKE LORD LLP
BERGER MONTAGUE, P.C.                                        111 S. Wacker Dr.
1622 Locust Street                                           Chicago, IL 60606
Philadelphia, PA 19103                                       Phone: 312-443-0700
Phone:215-875-3000                                           Fax: 312-443-0336
Fax: 215-875-4604

Interim Co-Lead Class Counsel for                            Counsel for Zydus Pharmaceuticals,
Direct Purchaser Class Plaintiffs                            (USA) Inc.
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Approved this --lS-- day of   \!\A Y   , 2017


                                                   n. Jan E. DuBois
                                                United States District Judge
